Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 1 of 11 PageID: 148




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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  DAVID KANEFSKY, Individually and On
  Behalf of All Others Similarly Situated, Civ. No. 2:18-15536-WJM-SCM

              Plaintiff,                      PLAINTIFFS’ MEMORANDUM
                                              OF LAW IN REPLY AND
                                              FURTHER SUPPORT OF
                                              MOTION TO CONSOLIDATE;
                                              AND OPPOSITION TO
                                              DEFENDANTS’ CROSS-
                                              MOTION TO STAY THE
                                              WAYNE COUNTY CASE
        v.

  HONEYWELL INTERNATIONAL INC., Motion Day: July 1, 2019
  DARIUS ADAMCZYK, and THOMAS A.
  SZLOSEK,

              Defendants.


  WAYNE COUNTY EMPLOYEES’                     Civ. No. 2:19-cv-12542-WJM-SCM
  RETIREMENT SYSTEM, Individually
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 2 of 11 PageID: 149




  and On Behalf of All Others Similarly
  Situated,

              Plaintiff,

        v.

  HONEYWELL INTERNATIONAL INC.,
  DARIUS ADAMCZYK, and THOMAS A.
  SZLOSEK,

              Defendants.
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 3 of 11 PageID: 150




                                      TABLE OF CONTENTS

 I.     INTRODUCTION ...........................................................................................1
 II.    ARGUMENT ...................................................................................................2
        A.       Defendants Ignore Routine Securities Fraud Class Action Procedure
                 and Relevant Case Law. ........................................................................ 2
        B.       Plaintiffs Are Protecting the Interests of Unnamed Class Members By
                 Adding Wayne County as an Additional Plaintiff. ............................... 3
 III.   CONCLUSION................................................................................................7




                                                         i
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 4 of 11 PageID: 151




                                          TABLE OF AUTHORITIES

 Cases
 In re Advanced Battery Techs., Inc. Sec. Litig.,
   No. 11 Civ. 2279 (CM), 2012 U.S. Dist. LEXIS 123757 (S.D.N.Y. Aug. 29, 2012)
    ................................................................................................................................4
 China Agritech, Inc. v. Resh,
  138 S. Ct. 1800 (2018) .................................................................................. 1, 4, 5
 Dole v. Arco Chem. Co.,
  921 F.2d 484 (3d Cir. 1990) ...................................................................................6
 Hildebrand v. Allegheny Cty.,
  923 F.3d 128 (3d Cir. 2019) ...................................................................................5
 Institutional Inv’rs Grp. v. Avaya, Inc.,
   564 F.3d 242 (3d Cir. 2009) ...................................................................................3
 In re Lucent Techs., Inc. Sec. Litig.,
   221 F. Supp. 2d 472 (D.N.J. 2001).........................................................................4
 Mullin v. Balicki,
  875 F.3d 140 (3d Cir. 2017) ...................................................................................5
 Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v. LaBranche & Co.,
   229 F.R.D. 395 (S.D.N.Y. 2004) ............................................................................4
 In re Portal Software Sec. Litig.,
   No. C-03-5138 VRW, 2005 U.S. Dist. LEXIS 41178 (N.D. Cal. Mar. 9, 2005) ..4
 Takata v. Riot Blockchain, Inc.,
   No. 18-2293 (FLW) (TJB), 2018 U.S. Dist. LEXIS 189585 (D.N.J. Nov. 6, 2018)
   ................................................................................................................................2
 In re Valeant Pharm. Int'l, Inc. Sec. Litig.,
   No. 15-7658 (MAS) (LHG), 2018 U.S. Dist. LEXIS 191439 (D.N.J. Nov. 7, 2018)
    ................................................................................................................................2
 Van Noppen v. Innerworkings, Inc.,
  136 F. Supp. 3d 922 (N.D. Ill. 2015)......................................................................4
 Statutes
 15 U.S.C. §78u-4(b)(1) ..............................................................................................6




                                                                 ii
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 5 of 11 PageID: 152




 I.    INTRODUCTION
       Plaintiffs’ request for consolidation should be granted and Defendants’ cross-
 motion to stay should be denied. As demonstrated in Plaintiffs’ opening brief, the
 Kanefsky and Wayne County actions are substantially similar. They are both
 securities fraud matters, they both arise from Defendants’ statements about
 Honeywell’s asbestos-related liability, and they both rely on the company’s
 correspondence with the SEC to prove scienter. Moreover, Defendants admit that
 both actions are “in large part, identical.” The case law on this issue (which
 Defendants entirely fail to address in their brief) shows that consolidation is
 appropriate and that Plaintiffs’ motion should be granted.
       Instead of addressing the merits of the motion under Rule 42, Defendants
 spend over a dozen pages accusing Plaintiffs of engaging in a “strategic gambit” to
 amend their complaint without satisfying the requirements of Rule 15. Defendants
 are wrong. Plaintiffs have already moved to amend under Rule 15 in the Kanefsky
 action and, as Defendants admit, the amended pleading in the Kanefsky action and
 the complaint in the Wayne County action are “in large part, identical.” If Plaintiffs
 were truly trying to cheat Rule 15 as Defendants claim, they would not have filed
 the motion for leave to amend in the first place. The fact of the matter is that Plaintiffs
 filed this motion for consolidation in line with the guidance provided by the Supreme
 Court in China Agritech, Inc. v. Resh, 138 S. Ct. 1800 (2018). In that case, the
 Supreme Court encouraged unnamed class members to participate in the action in
 order to help protect the rights of the class as a whole. That is what Wayne County
 is doing here.
        Allowing Plaintiffs to consolidate and amend would not only be correct
 legally, but also practically. If Plaintiffs’ pending motions were granted, then an
 amended complaint could be filed and the Court could evaluate Plaintiffs’
 allegations against the complete, current factual record. Defendants’ proposed
                                             1
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 6 of 11 PageID: 153




 course of action would result in something entirely different and grossly inefficient.
 It makes no sense to defer consideration of Plaintiffs’ amended or consolidated
 complaint, especially given the Third Circuit’s policy of deciding cases on the merits
 and the early procedural posture of this case.
 II.   ARGUMENT
       A.     Defendants Ignore Routine Securities Fraud Class Action
              Procedure and Relevant Case Law.
       For all of Defendants’ complaints about procedure, they ignore that
 consolidation and amendment are routine in securities fraud actions. Plaintiffs cited
 half a dozen cases in their opening brief showing that consolidation is routine in
 securities fraud lawsuits where, like here, the allegations substantially overlap.
 Opening Br. at 5, 7 (citing, for example, In re Valeant Pharm. Int'l, Inc. Sec. Litig.,
 No. 15-7658 (MAS) (LHG), 2018 U.S. Dist. LEXIS 191439, at *7 (D.N.J. Nov. 7,
 2018), and Takata v. Riot Blockchain, Inc., No. 18-2293 (FLW) (TJB), 2018 U.S.
 Dist. LEXIS 189585, at *5-6 (D.N.J. Nov. 6, 2018)). In opposition, Defendants
 addressed precisely zero of these cases and failed to even attempt to explain why
 they do not apply under the circumstances at hand.
       Instead, Defendants spent over a dozen pages accusing Plaintiffs of engaging
 in “gamesmanship.” Answering Br. at 7, 10, 14. They argue strenuously that
 Plaintiffs’ motion for consolidation is nothing but an attempt to cast aside the
 procedural requirements of Rule 15 and amend the pleadings for a third time without
 first seeking permission to do so. Id. at 1-2, 5-7. Defendants’ argument fails. The
 fact of the matter is that Plaintiffs already moved for leave to amend the operative
 complaint and that the Wayne County action is substantially “identical” to Plaintiffs’
 proposed amended pleading in the Kanefsky action. Defendants concede this
 important point in their brief on two separate occasions. Id. at 4 (“The Wayne County
 Complaint is, in large part, identical to Lead Plaintiff’s proposed Second Amended
                                           2
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 7 of 11 PageID: 154




 Complaint, with only some minor additional content.”), 14 (“As Defendants pointed
 out in their opposition to Lead Plaintiff’s motion for leave to amend, the Wayne
 County Complaint contains very few departures from Lead Plaintiff’s proposed
 Second Amended Complaint.”).
       Given that the Wayne County complaint is “in large part, identical” to the
 pending amended complaint in the Kanefsky action, Defendants are wrong to accuse
 Plaintiffs of violating Rule 15.
       B.     Plaintiffs Are Protecting the Interests of Unnamed Class Members
              By Adding Wayne County as an Additional Plaintiff.
       What Defendants describe as a “strategic gambit” is nothing more than
 Plaintiffs’ attempt at receiving a decision on the merits in an important securities
 fraud action with billions of dollars in classwide damages. Answering Br. at 1. A
 securities fraud action under Section 10(b) of the Exchange Act and SEC Rule 10b-
 5 requires, in pertinent part, for the plaintiff to prove a material “misstatement or an
 omission” about a security that was made with “scienter.” Institutional Inv’rs Grp.
 v. Avaya, Inc., 564 F.3d 242, 251-52 (3d Cir. 2009) (internal quotations omitted).
 The element of “scienter” can be established by proving that the defendants knew
 their statements were false at the time they were made or deliberately disregarded
 the risk of misleading investors by making the statements. See id. at 267-68.
       Plaintiffs have the facts they need to make their case at the pleading stage.
 Honeywell represented to investors that its asbestos-related liability was one number
 when, in reality, it was three times as much. Kanefsky at ¶5; Wayne County at ¶5.
 Honeywell also knew that its representations were materially misleading at the time
 they were made, as evidenced the company’s correspondence with the SEC.
 Kanefsky at ¶¶128-39; Wayne County at ¶¶154-66. Where, as here, internal
 documents show that the defendants knew their public statements were false, a


                                            3
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 8 of 11 PageID: 155




 plaintiff will easily be able to “fortify” his or her allegations that “defendants’
 statements . . . were knowingly or recklessly false.” Avaya, 564 F.3d 268-69.
        Plaintiffs obviously have a strong case on the merits. Defendants therefore
 should not be surprised to see Plaintiffs taking further steps to protect their claims
 on behalf of the unnamed class under Rule 23 and applicable case law. By
 consolidating the Wayne County and Kanefsky actions, Plaintiffs are adding Wayne
 County as an “additional plaintiff” in order to ensure that the class is adequately
 protected over the course of the litigation and, importantly, during class certification
 proceedings. See, e.g., Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v.
 LaBranche & Co., 229 F.R.D. 395, 420 (S.D.N.Y. 2004) (additional plaintiffs “help
 to ensure that adequate resources and experience are available to the prospective
 class” and provide “the substantial benefits of joint decision-making”); In re Lucent
 Techs., Inc. Sec. Litig., 221 F. Supp. 2d 472, 483 (D.N.J. 2001) (appointing co-lead
 plaintiffs provides “additional representation [that] may benefit the class and provide
 flexibility, if needed, in the future”).
        Contrary to Defendants’ arguments, plaintiffs in securities fraud actions do
 not violate the PSLRA simply by adding “additional plaintiffs” to a complaint. For
 example, “[l]ead plaintiffs can cure standing deficiencies by adding an additional
 plaintiff who purchased securities later in the putative class period.” Van Noppen v.
 Innerworkings, Inc., 136 F. Supp. 3d 922, 931 (N.D. Ill. 2015) (collecting cases);
 accord In re Advanced Battery Techs., Inc. Sec. Litig., No. 11 Civ. 2279 (CM), 2012
 U.S. Dist. LEXIS 123757, at *64-65 (S.D.N.Y. Aug. 29, 2012) (allowing plaintiff to
 name additional plaintiff in order to show standing to assert claims). Similarly, lead
 plaintiffs “may bring in additional plaintiffs for the purpose of satisfying the
 requirements of FRCP 23.” In re Portal Software Sec. Litig., No. C-03-5138 VRW,
 2005 U.S. Dist. LEXIS 41178, at *8 (N.D. Cal. Mar. 9, 2005).


                                            4
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 9 of 11 PageID: 156




       The Supreme Court’s decision in China Agritech, Inc. v. Resh, supra, supports
 Plaintiffs’ motion. In that case, the Supreme Court recommended and even
 encouraged plaintiffs to participate in the action at an early stage in order to help
 protect the rights of the class. “Indeed, multiple filings may aid a district court in
 determining, early on, whether class treatment is warranted, and if so, which of the
 contenders would be the best representative. And sooner rather than later filings are
 just what Rule 23 encourages.” Id. at 1811 (citations omitted). By moving to
 consolidate the Wayne County and Kanefksy actions, Plaintiffs are attempting to
 comply with the Supreme Court’s guidance.
       Defendants inaccurately quote China Agritech in their brief. Instead of
 acknowledging the true import of the decision, Defendants quote the case in such a
 way that it gives the impression that the Supreme Court would disapprove of Wayne
 County entering the litigation. Answering Br. at 13. To the contrary, the Supreme
 Court held that it only disapproved of plaintiffs “enter[ing] the fray” years after the
 action was commenced and only after the statute of limitations had lapsed. China
 Agritech, 138 S. Ct. at 1802-03. In this instance, the Supreme Court would
 unquestionably support Wayne County serving as an “additional plaintiff” by
 entering the litigation as early as possible so as to help protect the rights of unnamed
 class members.
       C.     Defendants, Not Plaintiffs, Are Delaying a Decision on the Merits
              by Engaging in Lengthy Motion Practice Over Noncontroversial
              Procedural Issues.
       The overarching flaw in Defendants’ arguments, not just in response to this
 motion but also in response to Plaintiffs’ motion for leave to amend, is that they fail
 to appreciate the significance of the “general policy embodied in the Federal Rules
 favoring resolution of cases on their merits.” Mullin v. Balicki, 875 F.3d 140, 149
 (3d Cir. 2017); accord Hildebrand v. Allegheny Cty., 923 F.3d 128, 132 (3d Cir.
                                            5
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 10 of 11 PageID: 157




 2019) (“We too have repeatedly acknowledged that ‘dismissals with prejudice or
 defaults are drastic sanctions’ that ‘must be a sanction of last, not first, resort.’”).
 Plaintiffs’ proposed amended complaint and the Wayne County complaint, which
 Defendants agree are “in large part, identical,” contain the entirety of the factual
 record at this point. 1 If Defendants are intent on moving to dismiss this case under
 Rule 12(b)(6), the Court should evaluate Plaintiffs’ claims based upon the entire
 record so as to properly allow for a decision on the merits of this action. See Dole v.
 Arco Chem. Co., 921 F.2d 484, 487 (3d Cir. 1990) (“lenient standard” behind Rule
 15(a) “ensures that ‘a particular claim will be decided on the merits than on
 technicalities’”).
       Plaintiffs’ motions, if granted, would allow the parties and the Court to adhere
 to this policy of favoring decisions on the merits. The Kanefsky and Wayne County
 cases would be consolidated, Plaintiffs would file an amended complaint containing
 the full factual record, and then Defendants could respond accordingly. If they move
 to dismiss, the Court could then evaluate Plaintiffs’ allegations under the applicable
 pleading standards and either dispose of the action in its entirety or advance the case
 into discovery.
       By contrast, Defendants’ proposed course of action would result in piecemeal
 decisions and additional delay from successive motions to dismiss and additional
 briefing. Defendants would have the Court first decide their pending motion to
 dismiss while all other motions are either denied without prejudice or held in
 abeyance. If the motion to dismiss is granted, Defendants would then have the Court
 determine whether Plaintiffs deserve leave to amend, decide a second motion to

 1
   Plaintiffs’ investigation remains ongoing. Depending on whether they uncover
 further information in support of their allegations, this information would of course
 be included in any future amended pleading(s) pursuant to the PSLRA. See 15 U.S.C.
 §78u-4(b)(1) (requiring plaintiffs to “state with particularity all facts” supporting
 allegations of falsity).
                                            6
Case 2:19-cv-12542-WJM-SCM Document 11 Filed 06/24/19 Page 11 of 11 PageID: 158




 dismiss, and finally determine whether the Wayne County action could proceed
 (which would inevitably lead to yet a third motion to dismiss). While Defendants
 complain at length about the “costs” and “expenses” they have incurred because of
 Plaintiffs’ motions (Answering Br. at 10, 13-14), their proposed course of action
 would only add to those costs as well as increase the amount of time already wasted.
 III.   CONCLUSION
        Plaintiffs respectfully request that the Court consolidate the Kanefsky and
 Wayne County actions and allow Plaintiffs to file a consolidated complaint so that
 the actions can proceed in an orderly manner going forward.

 Dated: June 24, 2019                  LEVI & KORSINSKY, LLP

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                                          7
